                           Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 1 of 7
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Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 2 of 7
Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 3 of 7
Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 4 of 7
Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 5 of 7
Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 6 of 7
Case 1:21-cr-00250-PLF Document 65 Filed 07/08/22 Page 7 of 7
